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AO91 (Rev. 5/85} Criminal Complaint _—_—- —
ited States District Wourt

 

 

 

 

 

 

 

DISTRICT OF NEVADA

UNITED STATES OF AMERICA
V. CRIMINAL COMPLAINT

JUVENAL GODINES SANDOVAL CASE NUMBER: |
Mag 99-316-M-LRL

(Name and Address of Defendant)

I, the undersigned complairiant being duly sworn state the following is true and correct to the best of my knowledge: and belief.
On or about___L/15/97__ in __Clark county, in the ___________ District of —Nevada__ defendant(s), did:

{Teack Matetery Language of Off)

willfully, unlawfully, knowingly, and with the intent to avoid prosecution, travel in interstate commerce from Las Vegas, Nevada to
Mexico and other areas not currently known, after committing the crime of Murder With a Deadly Weapon (2 counts), a felony
under the laws of the State of Nevada, Nevada Revised Statutes (NRS) 200.010, 200.030, and 193.165.

 

 

 

in violation of Title ____18_. United States Code, Section(s) 1073.
I further state that I am a(n) Special Agent and that this complaint is based on the following facts:

On 11/21/97, a Clark County, Nevada, Justice Court Arrest Warrant (97F16810X) was issued for the Defendant - Juvenal Godines
Sandoval - charging him with 2 counts of Murder With A Deadly Weapon.

The warrant was issued based on a Clark County, Nevada, Justice Court Criminal Complaint, dated 11/20/97, which accuses the
Defendant of committing murder with the use of a firearm, victims being Gilber‘o Miramontes and Elena Aldamo, during a fight at
the Keg Room Bar, 2365 East Bonnza Avenue, Las Vegas, Nevada. Defendant was subsequently identified by witnesses and
fingerprints from the scene. Interviews conducted by Detective J. Mike Franks, Las Vegas Metropolitan Police Departinent
(LVMPD) of nieghbors and associates determined that Defendant had fled the State of Nevada possibly to family in Guadalajara,

Jalisco area of Mexico

Continued on the attached sheet and made a part hereof: Kl Yes [J No

 

Signature of Complainant

 

Sworn to before me and subscribed in my presence, CASTLE K. NISHIMOTO
Special Agent, ]*BI
By Las Vegas, Nevada

Lilepe. oY G at Las Vegas, Nevada

Date City and State

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Name & Title of Judicial Officer Signature of Judicial Officer
